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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN RE SUBPOENA SERVED ON WILLIAM                    )
GERTZ,                                              )       Case No. 1:19-mc-00168
                                                    )

              [PROPOSED] ORDER GRANTING MOTION TO TRANSFER

        Before the Court is a Motion to Transfer this miscellaneous action to the issuing court

for a ruling on the pending Motion to Compel pursuant to Federal Rule Civil Procedure 45(f).

       After having considered the Motion and any responses and replies thereto, the Court

finds that the Motion should be GRANTED and the miscellaneous proceedings addressed by

this case shall be TRANSFERRED to the Southern District of New York, Case No. 1:18-cv-

02185-JGK-DCF.



       SIGNED this ____ day of _____, 2019.




                                                        _______________________________
                                                        UNITED STATES DISTRICT JUDGE
